UNITED STATES DISTRICT COURT                                                                 9/9/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–                                                 15-cr-95 (AJN)

  Hakeem Campbell,                                                        ORDER

                         Defendant.


ALISON J. NATHAN, District Judge:

       The Court is in receipt of the Defendant’s letter dated August 8, 2020. Dkt. No. 2976.

The Government is hereby ORDERED to respond to Defendant’s letter motion within two weeks

of this Order. The Clerk of Court is respectfully directed to mail a copy of this order to the

Defendant.

      SO ORDERED.

 Dated: September 9, 2020
        New York, New York
                                                  ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge
